Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 1 of 10



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       Case No.: 14-cv-62369-BLOOM/VALLE

  ARCTIC CAT INC.,

        Plaintiff,

  vs.

  BOMBARDIER RECREATIONAL
  PRODUCTS INC. AND BRP U.S. INC.,

        Defendants,
  ________________________________________

           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 2 of 10



         Plaintiff Arctic Cat Inc. (“Arctic Cat”), for its Complaint against defendants Bombardier

  Recreational Products Inc. and BRP U.S. Inc. (Collectively “BRP”), states and alleges as

  follows:

                                          I.      PARTIES

         1.      Plaintiff Arctic Cat Inc. is a corporation organized and existing under the laws of

  the State of Minnesota, having a principal place of business at 505 North Highway 169, Suite

  1000, Plymouth, Minnesota 55441. Arctic Cat regularly conducts business in the State of

  Florida, including this Judicial District, and has a full-time employee based in Valrico, Florida.

         2.      Defendant Bombardier Recreational Products Inc. is a corporation organized and

  existing under the laws of Canada and having a principal place of business at 726 rue St-Joseph

  Street, Valcourt, Quebec, Canada J0E 2L0.

         3.      Defendant BRP U.S. Inc. is a corporation organized and existing under the laws

  of the State of Delaware, and having a principal place of business at 10101 Science Drive,

  Sturtevant, Wisconsin 53177-1757. On information and belief, BRP U.S., Inc. maintains a

  regular and established place of business in this Judicial District at 1600 Sawgrass Corporate

  Parkway, Suite 150, Sunrise, Florida 33323.

                               II.    JURISDICTION AND VENUE

         4.      This is an action for patent infringement arising under the patent laws of the

  United States, Title 35 of the United States Code, including 35 U.S.C. § 271. This Court has

  subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 (federal question),

  1332(a)(1) (diversity of citizenship), and 1338(a) (Act of Congress relating to patents).

         5.      Defendants are subject to personal jurisdiction in this judicial district because they

  have committed, and are continuing to commit, substantial acts of infringement in this judicial

  district by marketing, promoting, offering for sale, selling, and distributing personal watercraft to


                                                  -1-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 3 of 10



  dealers in this judicial district for resale to and use by residents of this judicial district, which

  personal watercraft infringe patents owned by Arctic Cat as hereinafter more fully set forth.

          6.      Venue is proper pursuant to 28 U.S.C. § 1391(b) and § 1400(b).

                       III.   ARCTIC CAT’S PATENTED TECHNOLOGY

          7.      Jet propulsion personal watercraft (“PWC”) present unique safety challenges. In a

  1998 study the National Transportation Safety Board (“NTSB”) noted that “PWC are the only

  type of recreational vessel for which the leading cause of fatalities is not drowning; in PWC

  fatalities, more persons die from blunt force trauma than from drowning.”

          8.      One reason cited by the NTSB for the unique dangers of PWC was the absence of

  off-throttle steering:

                  A PWC uses a moveable nozzle connected to a jet pump, rather
                  than a propeller, to power the vessel. This distinction affects the
                  operating and handling characteristics of the vessel. The most
                  notable distinction is “off-throttle steering,” a trade term for the
                  situation that exists when an operator releases the throttle and then
                  attempts to execute a turn. The term is an oxymoron because there
                  is little or no steering capability when the throttle is off. Turning
                  the PWC handlebars changes the angle of water exiting the jet
                  pump, but without power to the jet pump, there is little or no
                  directional thrust. As stated in the owner’s safety manual of one
                  PWC manufacturer, “Remember, releasing the throttle completely
                  eliminates the ability to steer the watercraft.” This operating
                  characteristic is likely to be counterintuitive to novice operators,
                  particularly in situations of potential collision.

          9.      Arctic Cat developed a novel and effective thrust mechanism to provide riders

  with temporary “steerable thrust” in conditions where a rider turns the steering mechanism of the

  PWC and the throttle is returned to the idle position. The technology allows for a safer and more

  intuitive riding experience. Arctic Cat representatives demonstrated a prototype of this

  technology to the Coast Guard, to representatives of BRP, and to others in the PWC industry in

  1999 and 2000.



                                                  -2-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 4 of 10



         10.     The United States Patent and Trademark Office has awarded Arctic Cat patents

  for its novel and valuable off-throttle steering technology.

         11.     On September 21, 2004, the U.S. Patent and Trademark Office issued U.S. Patent

  No. 6,793,545 (“‘545 patent”) entitled “Controlled Thrust Steering System for Watercraft.”

         12.     On October 21, 2003, the U.S. Patent and Trademark Office issued U.S. Patent

  No. 6,634,912 (“‘912 patent”) entitled “Controlled Thrust Steering System for Watercraft.”

         13.     On May 27, 2003, the U.S. Patent and Trademark Office issued U.S. Patent No.

  6,568,969 (“‘969 patent”) entitled “Controlled Thrust Steering System for Watercraft.”

         14.     Arctic Cat is the owner by assignment of the ‘545, ‘912, and ‘969 patents.

                IV.     BRP’S INFRINGEMENT OF ARCTIC CAT’S PATENTS

         15.     BRP is the manufacturer and seller of the industry-leading Sea-Doo line of PWC.

         16.     On information and belief, BRP began offering Off-Power Assisted Steering

  (“OPAS”) on certain 2002 models of Sea-Doo PWC. OPAS relied on the deployment of

  mechanical rudders in low or off-power conditions. The

  mechanical rudders would retract during normal operation

  of the PWC. See Fig. 1.

         17.     In 2009, BRP began phasing out OPAS from

  its Sea-Doo PWC and replacing it with Off-Throttle
                                                                              Figure 1
  Assisted Steering (“OTAS”). As described in BRP’s 2012 Shop Manual, magnets are mounted

  on the steering column that activate a switch under specified circumstances. If activated, the

  OTAS system maintains or increases engine speed to approximately 3,000 RPM for a temporary

  period to provide the rider with steerable thrust. See Fig. 2.




                                                   -3-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 5 of 10



         18.    BRP promotes the OTAS technology as

  a   key   safety   innovation   on     its   website   at

  http://www.brp.com/en-gb/innovation/safety-features-0

  See Fig. 3.




                              Figure 3


         19.    BRP brought OTAS to its 2009 Sea-                        Figure 2

  Doo GTX Limited iS 255 and RXT iS 255. In 2010, OTAS was included with the Sea-Doo GTX

  Limited iS 260, GTX iS 215, GTX 155, RXT iS 260, RXT-X 260, RXT 215, and Wake Pro 215.

  By 2011, OTAS technology was included with the Sea-Doo GTX Limited iS 260, GTX iS 215,

  GTX 155, RXT iS 260, RTX aS 260, RXT-X 260, RXT 260, Wake Pro 215, Wake 155, GTI SE

  130, GTI SE 155, GTI 130, GTI Limited 155, and GTS 130. On information and belief, after

  2012 and continuing through to the present, all Sea-Doo models of PWC include OTAS

  technology.

         20.    On information and belief, BRP determined that Arctic Cat’s OTAS technology

  provided enhanced rider safety and other benefits that were unavailable with BRP’s OPAS

  technology. On further information and belief, BRP’s adoption of OTAS technology has helped

  reduce the number of avoidable injuries and deaths from operation of Sea-Doo PWCs.




                                                 -4-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 6 of 10



         21.     The Sea-Doo OTAS technology infringes one or more claims of the Arctic Cat

  ‘545, ‘912, and ‘969 patents, and on information and belief BRP adopted the OTAS technology

  with actual knowledge of the ‘545 patent, ‘912 patent, and ‘969 patent.

         22.     On further information and belief, BRP deployed OTAS technology on its line of

  Sea-Doo PWC with actual knowledge that it infringed one or more claims of the ‘545 patent,

  ‘912 patent, and ‘969 patent.

                                              COUNT I

                            INFRINGEMENT OF THE ‘545 PATENT

         23.     The allegations of paragraphs 1-22 are incorporated as if fully set forth herein.

         24.     BRP infringes one or more claims of the ‘545 patent by making, using, importing

  into the U.S., offering to sell, and/or selling at least the following models of Sea-Doo PWC:

                       2009 model year: GTX Limited iS 255 and RXT iS 255;

                       2010 model year: GTX Limited iS 260, GTX iS 215, GTX
                        155, RXT iS 260, RXT-X 260, RXT 215, and Wake Pro
                        215;

                       2011: GTX Limited iS 260, GTX iS 215, GTX 155, RXT
                        iS 260, RTX aS 260, RXT-X 260, RXT 260, Wake Pro
                        215, Wake 155, GTI SE 130, GTI SE 155, GTI 130, GTI
                        Limited 155, and GTS 130;

                       2012: GTX Limited iS 260, GTX 155 S, GTX 155 / 215,
                        RXT iS 260, RXT aS 260, RXT-X 260, RXT 260, RXP-X
                        260, GTR 215, Wake Pro 215, Wake 155, GTI SE 130 or
                        155, GTI 130, GTI Limited 155, GTS 130;

                       2013 model year: GTX Limited iS 260, GTX 155 S, GTX
                        155 / 215, RXT aS 260, RXT-X 260, RXT 260, RXP-X
                        260, GTR 215, Wake Pro 215, Wake 155, GTI SE 130 or
                        155, GTI 130, GTI Limited 155, GTS 130;

                       2014 model year: Spark, GTI 130, GTI Limited 155, GTI
                        SE 130/155, GTS 130, GTX 155, GTX Limited 215, GTX
                        Limited iS 260, GTX S 155, GTR 215, RXP-X 260, RXT



                                                 -5-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 7 of 10



                        260, RXT-X 260, RXT-X aS 260, Wake 155, Wake Pro
                        215.

  BRP’s infringement is in violation of 35 U.S.C. § 271(a)-(c).

         25.     On information and belief, BRP will continue to infringe the ‘545 patent unless

  and until BRP is enjoined by this Court.

         26.     BRP’s acts of infringement have caused and continue to cause damage to Arctic

  Cat, and Arctic Cat is entitled to recover from BRP the damages sustained by Arctic Cat in an

  amount to be determined at trial.

                                             COUNT II

                            INFRINGEMENT OF THE ‘912 PATENT

         27.     The allegations of paragraphs 1-26 are incorporated as if fully set forth herein.

         28.     BRP has infringed one or more claims of the ‘912 patent by making, using,

  importing into the U.S., offering to sell, and/or selling at least the following models of Sea-Doo

  PWC:

                       2009 model year: GTX Limited iS 255 and RXT iS 255;

                       2010 model year: GTX Limited iS 260, GTX iS 215, GTX
                        155, RXT iS 260, RXT-X 260, RXT 215, and Wake Pro
                        215;

                       2011: GTX Limited iS 260, GTX iS 215, GTX 155, RXT
                        iS 260, RTX aS 260, RXT-X 260, RXT 260, Wake Pro
                        215, Wake 155, GTI SE 130, GTI SE 155, GTI 130, GTI
                        Limited 155, and GTS 130;

                       2012: GTX Limited iS 260, GTX 155 S, GTX 155 / 215,
                        RXT iS 260, RXT aS 260, RXT-X 260, RXT 260, RXP-X
                        260, GTR 215, Wake Pro 215, Wake 155, GTI SE 130 or
                        155, GTI 130, GTI Limited 155, GTS 130.

  BRP’s infringement is in violation of 35 U.S.C. § 271(a)-(c).




                                                 -6-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 8 of 10



              29.   BRP’s acts of infringement have caused damage to Arctic Cat, and Arctic Cat is

  entitled to recover from BRP the damages sustained by Arctic Cat in an amount to be determined

  at trial.

                                                COUNT III

                               INFRINGEMENT OF THE ‘969 PATENT

              30.   The allegations of paragraphs 1-29 are incorporated as if fully set forth herein.

              31.   BRP has infringed one or more claims of the ‘969 patent by making, using,

  importing into the U.S., offering to sell, and/or selling at least the following models of Sea-Doo

  PWC:

                           2009 model year: GTX Limited iS 255 and RXT iS 255;

                           2010 model year: GTX Limited iS 260, GTX iS 215, GTX
                            155, RXT iS 260, RXT-X 260, RXT 215, and Wake Pro
                            215;

                           2011: GTX Limited iS 260, GTX iS 215, GTX 155, RXT
                            iS 260, RTX aS 260, RXT-X 260, RXT 260, Wake Pro
                            215, Wake 155, GTI SE 130, GTI SE 155, GTI 130, GTI
                            Limited 155, and GTS 130.

  BRP’s infringement is in violation of 35 U.S.C. § 271(a) and 35 U.S.C. § 271(c).

              32.   BRP’s acts of infringement have caused damage to Arctic Cat, and Arctic Cat is

  entitled to recover from BRP the damages sustained by Arctic Cat in an amount to be determined

  at trial.

                                         PRAYER FOR RELIEF

              WHEREFORE, Arctic Cat respectfully requests that this Court enter judgment in its

  favor and against BRP, as follows:

              A.    To enter judgment that BRP has infringed the ‘545, ‘912, and ‘969 patents in

  violation of 35 U.S.C. § 271;



                                                    -7-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 9 of 10



            B.     To enter orders preliminarily and permanently enjoining BRP and its officers,

  agents, directors, servants, employees, attorneys, representatives, parents, subsidiaries, affiliates,

  and all of those in active concert, privity or participation with them and their successors and

  assigns, from infringing the ‘545 patent;

            C.     If supported by the documents and testimony offered at trial, enter judgment that

  BRP’s acts of infringement have been willful and deliberate;

            D.     To award Arctic Cat its damages in an amount adequate to compensate Arctic Cat

  for BRP’s infringement of the ‘545, ‘912, and ‘969 patents consistent with 35 U.S.C. § 284, up

  to and including treble the amount of actual damages assessed, together with costs, and

  prejudgment and post-judgment interest;

            E.     To declare this case to be “exceptional” under 35 U.S.C. § 285 and to award

  Arctic Cat its attorneys’ fees, expenses, and costs incurred in this action; and

            F.     To award Arctic Cat such other and further relief as this Court deems just and

  proper.

                                   DEMAND FOR JURY TRIAL

            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Arctic Cat respectfully

  requests a trial by jury of any and all issues on which a trial by jury is available under applicable

  law.

  Dated: March 31, 2015                          Respectfully submitted,

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                                                  -8-
Case 0:14-cv-62369-BB Document 36 Entered on FLSD Docket 03/31/2015 Page 10 of 10



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                                      -9-
